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May 27, 2021

VIA ELECTRONIC FILING

The Honorable Judge Susan van Keulen
United States Magistrate Judge
Northern District of California
San Jose Courthouse, Courtroom 6, 4th Floor
280 South First Street, San Jose, CA 95133

Re:    AbCellera Biologics, Inc. and The University of British Columbia v. Berkeley Lights, Inc.,
       Case Nos. 20-cv-08624, -08626, -08627-LHK


Dear Judge van Keulen:

Pursuant to this Court’s Civil and Discovery Referral Matters Standing Order, Defendant
Berkeley Lights, Inc. (“Berkeley Lights”) and Plaintiffs AbCellera Biologics, Inc. and The
University of British Colombia (“Plaintiffs”) write to respectfully request the Court’s assistance
in resolving the below discovery disputes. Pursuant to the Court’s Standing Order, the parties
provide that there are 250 days remaining before the close of fact discovery and 564 days until
trial.

These disputes arise from Berkeley Lights’ First Set of Interrogatories (Nos. 1-9) and First Set of
Requests for Production (RFP) (Nos. 1-35) served separately to AbCellera and UBC on February
24, 2021, Plaintiffs’ initial responses to those requests served on March 26, 2021 (Exhibits A-D),
and Plaintiffs’ amended responses to those requests served on April 29, 2021 (Exhibits E-H).
The parties conducted meet and confers with respect to these discovery requests on April 14,
2021 and May 13, 2021. A chart including the disputed requests and responses is attached for
the Court’s convenience as Exhibit I.

       1.      Agreed Supplemental Responses On Certain Requests

Brief Description of Unresolved Issue: The parties dispute the timing for Plaintiffs’ supplemental
discovery responses regarding conception and reduction to practice, products and services that
Plaintiffs contend practice the asserted patents, and the contributions of the named inventors.

Berkeley Lights’s Position: Following the parties’ meet and confers, Plaintiffs agreed to provide
supplemental discovery responses to include explanations regarding: (a) Berkeley Lights’s
Interrogatory No. 1 and RFP No. 10 regarding conception and reduction to practice dates; (b)
Berkeley Lights’s Interrogatory No. 3 and RFP Nos. 27-29 regarding Plaintiffs’ own products
and services that Plaintiffs contend practice the inventions of the asserted patents; and (c)
Berkeley Lights’s Interrogatory No. 5 seeking information relating to the respective
contributions of those individuals to the claimed inventions. Regarding related documents,
Plaintiffs’ counsel has (a) stated that Plaintiffs have produced all inventor lab notebooks
presently in their possession; and (b) indicated that Plaintiffs would produce additional
documents in response to Berkeley Lights’s RFP on the embodying product issue.

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Berkeley Lights’s Proposal: Berkeley Lights respectfully requests a date certain for this
supplemental discovery be set. Berkeley Lights sought this discovery over three months ago in
requests served on February 24, 2021. This discovery is highly relevant to Plaintiffs’ claims and
Berkeley Lights’s defenses in this case, and any further delay will result in significantly
prejudice.

Plaintiffs’ Position: There is no dispute on the substance of these discovery requests. The only
issue is timing. The date for substantial completion of document production is November 22,
2021 and the close of fact discovery is February 1, 2022. (ECF No. 70). All of the disputed
issues are relevant, if at all, only to Plaintiffs’ affirmative claims and are irrelevant to any of
Defendant’s defenses in this matter. Specifically, (a) conception and reduction to practice is
relevant only to Plaintiffs’ ability to “swear behind” any prior art reference that Defendant may
assert; (b) AbCellera’s own technology is relevant only to Plaintiffs’ lost-profits damages claims;
and (c) the respective contributions of the inventors is not relevant to any issue currently in the
case. Additionally, these are contention interrogatories that are normally answered at the end of
fact discovery. Moreover, there is no prejudice to Defendant and Defendant has not articulated
the basis for any alleged prejudice.

Plaintiffs’ Proposal: Plaintiffs have proposed to Defendant that the parties agree on reciprocal
dates for interrogatory responses and consider setting one date for interrogatories calling for
identification of individuals and a later date for contention-type interrogatories. Defendant has
not responded to Plaintiffs’ proposal.

       2.      Prosecution of the Asserted Patents

Brief Description of Unresolved Issue: The parties dispute the timing for Plaintiffs’ supplemental
discovery responses regarding the prosecution of the asserted patents.

Berkeley Lights’s Position: Berkeley Lights’s Interrogatory No. 8 and RFP No. 3 seek
information regarding the prosecution of the asserted patents, including identification of the
persons involved. In response, Plaintiffs have merely identified the patents and prosecution
histories for those asserted patents in their document production. This is insufficient, as clearly
there is responsive information beyond what was recorded in the Patent Office. For example, the
prosecution histories do not show all of the persons involved in prosecution, including both
lawyers and non-lawyers. The identity of these people, even lawyers, is not privileged.

During the parties’ meet and confer, Plaintiffs’ counsel indicated that Plaintiffs would
supplement their response to Berkeley Lights’s interrogatory on this issue. Plaintiffs’ counsel
further indicated that Plaintiffs are not withholding any non-privileged documents responsive to
Berkeley Lights’s RFPs, but are potentially asserting both attorney-client and common-interest
privileges on these issues.

Berkeley Lights’s Proposal: Like above, Berkeley Lights requests the Court set a date certain for
Plaintiffs’ supplemental interrogatory response. Regarding documents, while in the Joint Case
Management Statement the parties agreed to provide privilege logs two weeks after the date for
substantial completion of discovery, given Plaintiffs’ position that all documents responsive to
this request are protected by either attorney-client or common-interest privilege, and that

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separate, independent parties are involved, Berkeley Lights proposes that Plaintiffs should
provide their privilege log on documents responsive to this request no later than June 30, 2021.

Plaintiffs’ Position: There is no dispute on the substance of these discovery requests. The only
issue again is timing. Defendant asks the Court to set a date certain for Plaintiffs’ supplemental
discovery responses and production of a privilege log relating to these discovery responses. In
the parties’ Joint Case Management Statement (ECF No. 67), however, the parties stated that
they “agree to exchange privilege logs within 30 days of the substantial completion of document
production [i.e. December 22, 2021].” (Id. at 8).
Plaintiffs’ Proposal: As discussed above, Plaintiffs have proposed to Defendant that the parties
agree on reciprocal dates for interrogatory responses and consider setting one date for
interrogatories calling for identification of individuals and a later date for contention-type
interrogatories.

With respect to the timing for privilege logs, that issue was negotiated and resolved between the
parties in the Joint Case Management Conference Statement and the parties “agree[d] to
exchange privilege logs within 30 days of the substantial completion of document production
[i.e. December 22, 2021].” (ECF No. 67 at 8). Moreover, it is no surprise that documents
concerning prosecution of the patents-in-suit are privileged. Defendant should not be permitted
to now renege on their agreement.
       3.      Knowledge of Accused Products

Brief Description of Unresolved Issue: Defendant’s RFP Nos. 12 and 13 seek information
relating to Plaintiffs’ first knowledge of Defendant and the accused products in this case.
Plaintiffs did not agree to produce documents in response to these requests.

Berkeley Lights’s Position: Plaintiffs have wholesale refused to produce documents relating to
their first knowledge of Berkeley Lights and Berkeley Lights’s accused products in this case, or
any information relating to Berkeley Lights, the accused products or other Berkeley Lights
products, as sought in Berkeley Lights’s RFP 12 and 13. This information is relevant including
because of Plaintiffs’ asserted patents that were filed after the commercial release of the accused
products.

Berkeley Lights’s Proposal: Plaintiffs are properly required to produce documents responsive to
this request.

Plaintiffs’ Position: Plaintiffs maintain their objections and responses to these requests,
including that they are not relevant to any issue in this case. Berkeley’s only purported relevance
for the information sought by these requests is that the some of the patents-in-suit were allegedly
filed after the commercial release of the accused products. Berkeley, however, is mistaken. All
of the applications have priority to applications filed in July 2010. Berkeley Lights did not
commercially release its products until over six years later.
Plaintiffs’ Proposal: These requests are not relevant to any issue in this action and Plaintiffs
should not be compelled to produce documents in response.



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       4.      Agreements and communications between AbCellera and UBC regarding
               AbCellera’s licensing of the asserted patents from UBC and this litigation

Brief Description of Unresolved Issue: Berkeley Lights seeks information regarding agreements
and communications between Plaintiffs AbCellera and UBC regarding AbCellera’s licensing of
the asserted patents from UBC and this litigation in Interrogatory No. 2 and RFP Nos. 5, 6, 14,
and 15.

Berkeley Lights’s Position: In response to all of these discovery requests, Plaintiffs have
identified only the License Agreement between AbCellera and UBC and have refused to provide
any further related information. Berkeley Lights also seeks information and communications
between AbCellera and UBC relating to their filing of this litigation, in response to which
Plaintiffs have taken the position that no non-privileged information exists. Information and
communications between these two separate parties relating specifically to their licensing of the
asserted patents, including the decision to license, and also regarding the litigation, is relevant,
including for example to damages issues.

Berkeley Lights’s Proposal: Plaintiffs are properly ordered to respond to this interrogatory and
produce documents responsive to these RFPs. If Plaintiffs assert privilege with regard to
responsive documents, given Plaintiffs’ position that all documents responsive to these requests
are privileged, and given that there are two independent parties involved in the requested
communications, Berkeley Lights proposes that Plaintiffs should provide their privilege log on
documents responsive to this request no later than June 30, 2021.

Plaintiffs’ Position: These is no dispute regarding the substance of these discovery requests as
Plaintiffs have produced all non-privileged information responsive to these requests that they are
currently aware of. Additionally, with respect the license agreement, Defendant has failed to
articulate how communications between the parties leading up to the license agreement is
relevant to any issue in this case, including damages. In any event, the only dispute on this topic
appears to be the timing for exchange of privilege logs. As discussed above, that issue has also
already been resolved as the parties agreed on a date for the production of privilege logs. (ECF
No. 67.) Defendant should not be permitted to now renege on that agreement.
Plaintiffs’ Proposal: Plaintiffs propose that the parties provide their privilege logs in accordance
with their agreement in the Joint Case Management Conference Statement.




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Respectfully submitted,

/s/ Eric C. Stops______________________               /s/ Keeley I. Vega____________________
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                                        ATTESTATION

      Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this
document has been obtained for the other signatories in this e-filed document.

                                                                      /s/ Keeley I. Vega_________
                                                                      Keeley I. Vega

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